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              EXHIBIT 4
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30(b)(6) Abbott (Sellers, Michael)                                 March 16, 2008

                                                                                Page 1
              THE UNITED STATES DISTRICT COURT

             FOR THE DISTRICT OF MASSACHUSETTS



    In re:   PHARMACEUTICAL       )   MDL NO. 1456

    INDUSTRY AVERAGE WHOLESALE    )   CIVIL ACTION

    PRICE LITIGATION              )   01-CV-12257-PBS

    _____________________________



                    Videotaped Rule 30(b)(6) Deposition

                    of MICHAEL SELLERS, at 77 West Wacker

                    Drive, Chicago, Illinois, commencing

                    at 9:00 a.m. on Sunday, March 16,

                    2008, before Donna M. Kazaitis, RPR,

                    CSR No. 084-003145.




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30(b)(6) Abbott (Sellers, Michael)                                                        March 16, 2008
                                             Page 42                                                    Page 44
 1   was the president's office of the Hospital           1   BY MS. ST. PETER-GRIFFITH:
 2   Products Division. And I can't remember where        2      Q. What claims being made?
 3   the, the March meeting may have been over in Rick    3          MS. TABACCHI: Objection, same
 4   Gonzalez's corporate area.                           4   objections.
 5      Q. Did anyone else other than those five          5          THE WITNESS: That we had manipulated
 6   individuals have input into the decision to make     6   price.
 7   the 2001 price change?                               7   BY MS. ST. PETER-GRIFFITH:
 8      A. No.                                            8      Q. And you said eventually you changed your
 9          MS. TABACCHI: Object to the form.             9   view on that?
10                                                       10          MS. TABACCHI: Same objections.
11   BY MS. ST. PETER-GRIFFITH:                          11          THE WITNESS: As I said, as we went
12      Q. What were your thoughts, and I                12   through the analysis I agreed with the end result.
13   appreciate you're testifying in your personal       13   BY MS. ST. PETER-GRIFFITH:
14   capacity, but what were your thoughts on whether    14      Q. Did anyone else have reservations about
15   the 2001 price change occurred?                     15   the 2001 price changes?
16          MS. TABACCHI: Object to the form,            16          MS. TABACCHI: I'm going to caution the
17   beyond the scope of the Notice, and the witness     17   witness not to reveal the substance of any
18   has already testified about this in a previous      18   communications between anyone at any meeting in
19   deposition taken by you in this case.               19   which counsel was present.
20          THE WITNESS: It was a consensus              20          MS. ST. PETER-GRIFFITH: I'm going to
21   decision to make the change.                        21   have to ask you, Tina, whether you intend to rely
22   BY MS. ST. PETER-GRIFFITH:                          22   upon advice of counsel.
                                             Page 43                                                    Page 45
 1      Q. Did you agree with it?                        1           MS. TABACCHI: We've been through this
 2      A. Yes.                                          2    before. Mr. Sellers is not going to waive any
 3      Q. Did you have any reservations about the       3    privilege today in his testimony.
 4   2001 price change?                                  4           THE WITNESS: I don't know of anybody
 5          MS. TABACCHI: Object to the form,            5    else.
 6   beyond the scope, asked and answered previous       6    BY MS. ST. PETER-GRIFFITH:
 7   testimony.                                          7       Q. Sir, were the two meetings that you
 8          THE WITNESS: Early on I probably did, 8           testified the only meetings regarding the proposed
 9   but later in the process I agreed with it.          9    price change in 2001?
10   BY MS. ST. PETER-GRIFFITH:                         10           MS. TABACCHI: Object to the form.
11      Q. Why early on did you have reservations? 11                THE WITNESS: They were the only
12          MS. TABACCHI: Again, all of these           12    meetings with that team.
13   questions have been posed already to Mr. Sellers 13      BY MS. ST. PETER-GRIFFITH:
14   in his individual deposition.                      14       Q. Were other meetings held?
15          MS. ST. PETER-GRIFFITH: No, they            15       A. I worked with Laura Schumacher on the
16   haven't.                                           16    analysis --
17          MS. TABACCHI: I'm going to object to 17                  MS. TABACCHI: I'm going to caution the
18   the line of questioning, beyond the scope.         18    witness not to reveal the substance of any
19          THE WITNESS: I think initially I had        19    communications with Ms. Schumacher.
20   some concern with regard to the fact that it might 20           THE WITNESS: And there were a number of
21   be used against us and seen as agreeing with the 21      meetings that I held with her.
22   claims being made.                                 22    BY MS. ST. PETER-GRIFFITH:
                                                                                  12 (Pages 42 to 45)
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                THE UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF MASSACHUSETTS



      In re:   PHARMACEUTICAL       )   MDL NO. 1456

      INDUSTRY AVERAGE WHOLESALE    )   CIVIL ACTION

      PRICE LITIGATION              )   01-CV-12257-PBS

      _____________________________     Volume II



                      Continued Videotaped Rule 30(b)(6)

                      Deposition of MICHAEL SELLERS, at

                      77 West Wacker Drive, Chicago,

                      Illinois, commencing at 9:00 a.m.

                      On Monday, March 31, 2008, before

                      Donna M. Kazaitis, RPR, CSR

                      No. 084-003145.




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                                           Page 349                                                  Page 351
 1   to understand what costs they had to consider as    1          MS. TABACCHI: Object to the form.
 2   through their business?                             2          THE WITNESS: The only other factor that
 3          MS. TABACCHI: Object to the form,            3   plays here is the size of the customer in terms of
 4   beyond the scope.                                   4   what does the customer buy from Abbott or what
 5          THE WITNESS: Well, while it's always         5   could the customer buy from Abbott.
 6   important to understand your customer and what      6             So if, for instance, it was a large
 7   drives their or what gives them motivation,         7   GPO that brought to us two thousand members that
 8   whatever they did to process our products was the   8   would then buy our products, they might be
 9   same they were going to do when they processed      9   eligible for a lower price than an individual
10   somebody else's products. Ours were no different. 10    coming to us with two or three, four, or five
11              The only place where there was a        11   locations that might buy our drugs.
12   difference was where we had a delivery system that 12             So the critical mass of the
13   would have obviated a certain process that they    13   customer may have played some role in the price
14   would have had to do.                              14   considerations at times.
15              For instance, if we were selling a      15   BY MS. ST. PETER-GRIFFITH:
16   pre-filled syringe product, that product could be  16      Q. Would it have been the contract price
17   priced higher than just a vial or ampule product   17   considerations or the list price considerations or
18   because it eliminated steps that the provider had  18   both?
19   to go through to draw up the syringe and so on.    19          MS. TABACCHI: Object to the form.
20              So from that standpoint, it was         20          THE WITNESS: Purely contract.
21   important to understand. But if they bought a      21   BY MS. ST. PETER-GRIFFITH:
22   vial of a certain drug from us and they bought a   22      Q. How did Abbott's marketing of product
                                           Page 350                                                  Page 352
 1   vial of a certain drug, of that same drug, from    1    lines, meaning packaging more than just one
 2   one of our competitors, they'd have to go through 2     individual product, how did that impact pricing
 3   the same processes to prepare the drug, administer 3    for Abbott's individual products, if at all?
 4   the drug, whatever else needed to go on.           4           MS. TABACCHI: Object to the form.
 5              So we really didn't take that into      5           THE WITNESS: Usually not in the subject
 6   consideration because it was really what did we    6    drugs that we're talking about here.
 7   need to remain competitive with other drug         7    BY MS. ST. PETER-GRIFFITH:
 8   suppliers on that drug.                            8       Q. Okay.
 9      Q. Did dispensing fees for the end              9       A. Primarily because the awards that would
10   providers ever factor into Abbott's pricing       10    be made by a GPO for instance often times ended up
11   decisions?                                        11    being line item awards. They weren't we're going
12      A. No.                                         12    to give you every product that you bid, we're
13      Q. What about inventory carrying costs for     13    going to give you, you know, instead they'd come
14   the end user providers, did that ever factor into 14    back and say no, we're going to give you a hundred
15   Abbott's pricing decisions?                       15    twenty out of the three hundred fifty products
16          MS. TABACCHI: Object to the form.          16    that you bid we're going to give those to you and
17          THE WITNESS: No.                           17    we're going to give somebody else the other two
18   BY MS. ST. PETER-GRIFFITH:                        18    hundred some odd.
19      Q. Other than just the competitive price of    19              So it never was a practice to try
20   the actual product itself, was there any other    20    to link them together because we knew that our
21   factor pertaining to the provider that factored   21    customers, which were primarily pharmacists, not
22   into Abbott's pricing decisions?                  22    professional purchasers, they liked to do a pick
                                                                               6 (Pages 349 to 352)
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 1   and choose across the awards. So you really had     1   environment. So if CPIU, a lot of our contracts
 2   to price each one so it would stand alone.          2   are geared to whatever the CPIU does in terms of
 3      Q. So, for example, in the example that you      3   our ability to increase prices. So that would be
 4   just gave for those a hundred twenty or so line     4   another factor in determining contract price. And
 5   items, would it be price that would be the          5   as I've said before, in the 1990s it was a factor
 6   determining factor as to whether or not Abbott      6   for list price changes as well.
 7   would receive the contract from the GPO with        7              (WHEREUPON Exhibit Sellers 016
 8   regard to those items?                              8               was marked as of 3/31/2008.)
 9          MS. TABACCHI: Object to the form,            9   BY MS. ST. PETER-GRIFFITH:
10   beyond the scope.                                  10      Q. Sir, I'm not going to ask you detailed
11          THE WITNESS: It was one of the factors. 11       questions about this document. I'm going to ask
12   I mean all things I said before in terms of        12   Abbott whether it recognizes the document, but
13   dependability, in terms of quality, in terms of    13   we're not going to go line-by-line. (Document
14   delivery mode would contribute to their decision. 14    tendered to the witness.)
15   BY MS. ST. PETER-GRIFFITH:                         15           MS. TABACCHI: Object to the question as
16      Q. Let me ask you a slightly different way.     16   beyond the scope of the Notice.
17             Would it be the prices on the            17           THE WITNESS: I don't remember reviewing
18   individual line items that would be awarded, for   18   this particular document.
19   example the hundred twenty that you referenced, as 19   BY MS. ST. PETER-GRIFFITH:
20   opposed to the entire package or portfolio of the  20      Q. Sir, previously we had discussed in the
21   product line that would be the driving factor?     21   first day of your deposition various pressures
22          MS. TABACCHI: Object to the form,           22   that may have influenced Abbott's decision making
                                           Page 354                                                  Page 356
 1   beyond the scope.                                  1    with regard to lowering its list pricing. Do you
 2         THE WITNESS: My experience is that it 2           recall that?
 3   was the individual price for that individual line  3            MS. TABACCHI: Object to the form.
 4   item that was awarded.                             4            THE WITNESS: Yeah. I believe we talked
 5   BY MS. ST. PETER-GRIFFITH:                         5    about a number of environmental factors that were
 6      Q. Were there any other factors that            6    going on at the time.
 7   factored other than what you already testified to 7     BY MS. ST. PETER-GRIFFITH:
 8   this morning and earlier that factored into        8       Q. In 1999 I'll represent to you this is a
 9   Abbott's pricing decisions?                        9    letter that was sent to by the Department of
10         MS. TABACCHI: Object to the form.           10    Justice to Abbott's counsel, Daniel Reidy.
11         THE WITNESS: No. The one other one, I 11                     Did Abbott see a copy of this
12   guess I back, the one other one we talked about 12      document?
13   before is inflationary environment of the year    13            MS. TABACCHI: Object to the form,
14   that we were in.                                  14    object as beyond the scope of the Notice.
15   BY MS. ST. PETER-GRIFFITH:                        15            THE WITNESS: I can't comment because I
16      Q. What do you mean by that?                   16    didn't see it.
17      A. Well, we monitored the CPI bundle for       17    BY MS. ST. PETER-GRIFFITH:
18   urban, CPIU is what we called it, I think that's  18       Q. Why didn't Abbott consider lowering its
19   what it's called on the government website.       19    list prices upon receipt of this letter?
20             We monitored CPIU. So we were           20            MS. TABACCHI: Object to the form,
21   aware whether we were in a high inflationary      21    beyond the scope of the Notice. This is an
22   environment or we were in a low inflationary      22    improper hypothetical.
                                                                               7 (Pages 353 to 356)
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